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Colleen R. Smith (ISB No. 10023)              Peter G. Neiman*
Stris & Maher LLP                             Alan E. Schoenfeld*
American Civil Liberties Union of             Michelle Nicole Diamond*
   Idaho Foundation Cooperating Attorney      Rachel E. Craft*
1717 K Street NW, Suite 900                   Wilmer Cutler Pickering
Washington, DC 20006                            Hale and Dorr LLP
T: 202-800-5749                               7 World Trade Center
csmith@stris.com                              New York, NY 10007
                                              T: 212-230-8800
Katherine V. Mackey*                          F: 212-230-8888
Wilmer Cutler Pickering                       peter.neiman@wilmerhale.com
  Hale and Dorr LLP                           alan.schoenfeld@wilmerhale.com
60 State Street                               michelle.diamond@wilmerhale.com
Boston, MA 02109                              rachel.craft@wilmerhale.com
T: 617-526-6993
F: 617-526-5000                               Attorneys for Plaintiffs
katherine.mackey@wilmerhale.com
                                              Additional counsel for Plaintiffs
                                              identified on following page

                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION

 PLANNED PARENTHOOD GREAT
 NORTHWEST, HAWAII, ALASKA, INDIANA,
 KENTUCKY, on behalf of itself, its staff, physicians
 and patients, CAITLIN GUSTAFSON, M.D., on
 behalf of herself and her patients, and DARIN L.
 WEYHRICH, M.D., on behalf of himself and his
 patients,
                Plaintiffs,                                  Case No. 1:23-cv-142
         v.

 RAÚL LABRADOR, in his official capacity as
 Attorney General of the State of Idaho; MEMBERS
 OF THE IDAHO STATE BOARD OF MEDICINE
 and IDAHO STATE BOARD OF NURSING, in their
 official capacities, COUNTY PROSECUTING
 ATTORNEYS, in their official capacities,

               Defendants.




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Jennifer R. Sandman*                         Dina Flores-Brewer (ISB No. 6141)
Catherine Peyton Humphreville*               American Civil Liberties Union of
Planned Parenthood Federation of America        Idaho Foundation
123 William Street                           P.O. Box 1897
New York, NY 10038                           Boise, ID 83701
212-965-7000                                 T: 208-344-9750
jennifer.sandman@ppfa.org                    DFloresBrewer@acluidaho.org
catherine.humphreville@ppfa.org
                                             Andrew Beck*
Michael J. Bartlett (ISB No. 5496)           Meagan Burrows*
Bartlett & French LLP                        Ryan Mendías*
1002 W Franklin St.                          Scarlet Kim*
Boise, Idaho 83702                           American Civil Liberties Union
T: 208-629-2311                              Foundation
F: 208-629-2460 (fax)                        125 Broad Street, 18th Floor
Michael@BartlettFrench.com                   New York, NY 10004
                                             T: 212-549-2633
Attorneys for Plaintiff Planned Parenthood   F: 212-549-2649
Great Northwest, Hawaii, Alaska, Indiana,    abeck@aclu.org
Kentucky                                     mburrows@aclu.org
                                             rmendias@aclu.org
                                             scarletk@aclu.org


                                             Attorneys for Physician Plaintiffs

                                             * Pro hac vice applications forthcoming
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                          DECLARATION OF REBECCA GIBRON

       I, Rebecca Gibron, hereby declare as follows:

       1.      I am over the age of eighteen. I make this declaration based on personal knowledge

of the matters stated herein and on information known or reasonably available to my organization.

If called to do so, I am competent to testify as to the matters contained herein.

       Personal Background

       2.      I am the CEO of Planned Parenthood Great Northwest, Hawaii, Alaska, Indiana,

Kentucky (“Planned Parenthood”), a not-for-profit corporation organized under the laws of the

State of Washington and doing business in Idaho. I submit this declaration in support of Plaintiffs’

Motion for a Temporary Restraining Order and/or Preliminary Injunctive Relief.

       3.      In that position I am responsible for Planned Parenthood’s operations, including its

health centers in the State of Idaho. I have worked for Planned Parenthood or its predecessor

organizations since 1997, and I have served as its CEO since December 2021. Prior to becoming

CEO, I worked for Planned Parenthood and its predecessor organizations in a variety of roles,

including as the Chief Operating Officer and the CEO of Planned Parenthood of Idaho.

       4.      Planned Parenthood is the largest provider of reproductive health services in Idaho,

operating two health centers in the State in Ada County and Twin Falls County. We provide a

broad range of reproductive and sexual health services, including but not limited to, well person

examinations, birth control, testing and treatment for sexually transmitted infections, cancer

screening, and pregnancy testing.       Planned Parenthood’s licensed providers provide both

medication and procedural abortions in states where it is legal to do so but have not provided any

abortions in Idaho since the abortion ban at issue in this case took effect last summer.

       5.       I am chiefly responsible for the internal management and business operations of

Planned Parenthood. My primary goal is to ensure that all of our patients have access to quality
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healthcare services. As a result of my responsibilities, I am familiar with our operations, including

the services we provide and the communities we serve.

       6.       I understand that Idaho law makes it a felony for any person to “perform[] or

attempt[] to perform an abortion.” Idaho Code § 18-622(2) (the “Total Abortion Ban”). I also

understand that the law also provides for the revocation of suspension of health care professionals’

licenses when licensed professional assists with an abortion that itself violates the law.

       7.       I also understand that, on March 27, 2023, Idaho Attorney General Raúl Labrador

issued a letter interpreting Idaho’s criminal prohibitions on abortion. I have read Attorney General

Labrador’s letter and understand it to interpret the statute to bar medical providers from referring

patients across state lines for abortions. Based on this interpretation, the Total Abortion Ban would

put our staff at risk of ruinous penalties for providing information about abortion in states where

it is lawful. In the absence of judicial relief, we will be unable to provide Idaho patients with

quality reproductive healthcare services, including the provision of information to patients in Idaho

health centers. As a result, Planned Parenthood’s pregnant patients would face serious health risks

because we would be unable to provide them with necessary care, as detailed below.

       8.      The Attorney General’s interpretation also turns on reading Idaho’s abortion ban

to apply in some way to at least some abortions in other states. This interpretation of Idaho law

risks further isolating Idaho patients by cutting them off from critical health care in other states

that is legal in those states. I fear that Planned Parenthood, or our providers and other staff, may

face attempts to impose licensing or even criminal penalties if they provide abortions to Idahoans

in states where abortion is lawful.




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       Planned Parenthood’s Services in Idaho

       9.      Planned Parenthood operates two health centers in Idaho, located in Meridian and

Twin Falls. At these health centers, patients can receive testing, treatment and vaccines for certain

sexually transmitted infections, cervical cancer screening, mammogram referrals, fibroids

evaluations, and annual wellness checks, among other services. In 2021, Planned Parenthood’s

Idaho health centers served 7,930 patients in 12,908 patient encounters.

       10.     Until the Supreme Court decided Dobbs v. Jackson Women’s Health Organization,

142 S. Ct. 2228 (2022), Planned Parenthood centers, including in Idaho, provided both medication

and procedural abortions. After state laws banning abortion went into effect in Idaho, Planned

Parenthood stopped providing abortions in Idaho. Our health centers provide abortion in other

states where doing so is legal, including in Washington.

       11.      Although Planned Parenthood is no longer able to provide abortions in Idaho, our

Idaho health centers continue to see pregnant patients who would elect to have an abortion for

economic, family, medical, or other personal reasons.

       12.     Before Attorney General Labrador’s letter, our health center staff would engage

with these patients in a discussion about their pregnancy options, treatment plan and need for

further care based on their decision and would provide a packet of printed information depending

on what the patient needed.

       13.     The packet of information would include general information about different

pregnancy options, including abortion; a list of “Abortion Providers Nearest to You” that lists both

health centers operated by both Planned Parenthood Great Northwest, Hawaii, Alaska, Indiana,

Kentucky and other providers in Washington, Montana, Nevada, Wyoming, Oregon, and Utah; a




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sheet with information about funds that can help with travel and/or appointment costs; and a flier

on “Abortion law in Idaho” that states that abortion is banned in Idaho.

       14.     If the patient wanted to go to one of our health centers in a nearby state that is part

of Planned Parenthood Great Northwest, Hawai’i, Alaska, Indiana, Kentucky, our staff in Idaho

could schedule an appointment for them. If the patient wanted to go to a health center that is not

part of Planned Parenthood, staff would provide patients with the information about other

providers so that they could call themselves.

       The Effects of the Attorney General’s Interpretation of Idaho Code Section 18-622

       15.     Informing patients about and referring patients for abortion services is essential to

Planned Parenthood’s mission: to provide comprehensive reproductive health care services, which

are vital for public health, especially for medically underserved populations—of which there are

many in the State. Portions of 39 of the State’s 44 counties have been designated by the federal

government as Medically Underserved Population Areas.

       16.     The Attorney General’s overbroad interpretation of Idaho Code § 18-622 will

prevent Planned Parenthood and our dedicated team of medical professionals from fulfilling this

mission.

       17.     Medical providers will be unable to ensure care for their patients by recommending

providers who can provide the necessary care that Idaho does not permit. Doctors, nurses, and

other staff in Idaho will be forced to stop providing information and recommendations about

abortion services because they fear criminal prosecution and losing their professional licenses.

       18.     Many patients will not know how to access an abortion in another state or will

choose not to do so because the information did not come from a trusted medical source. Patients

may not even know that abortion remains legal in other states, or in which states it remains legal.



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       19.     Many patients will face delays in finding this information and accessing care.

These delays and disruptions in care come with serious health, social, and socioeconomic risks.

       20.     Delays in accessing abortion, or being unable to access abortion at all, pose risks to

patients’ health because, while abortion is a very safe procedure throughout pregnancy, the risks

of abortion increase with gestational age. Additionally, if individuals are forced to carry a

pregnancy to term against their will, that can pose a risk to both their physical health, as childbirth

is far riskier than abortion, as well as their mental and emotional health and the stability and

wellbeing of their family, including existing children. Some patients who are unable to access

legal abortion may attempt an abortion on their own without access to accurate medical

information.

       21.     These harms will be widespread, but they will fall hardest on those who already

face the biggest barriers to information and care—low-income individuals, patients in rural areas,

and communities of color.

       22.     Beyond the harms to our patients, Planned Parenthood’s staff fear they could be

subjected to attempts to bring civil or even criminal charges against them, based on the Attorney

General’s interpretation of the Total Abortion Ban.

       23.     This is in part because The Attorney General’s interpretation seems calculated to

increase confusion about what remains legal and what does not, by construing Idaho’s abortion

ban to apply in some way to at least some abortions in other states.

       24.     Planned Parenthood providers are also concerned about the licensure penalties for

providing referrals to patients for out-of-state abortions or otherwise giving “support or aid,” which

the Attorney General says violates the law. This is especially true for providers who are licensed

in Idaho and another state. Some Planned Parenthood providers who are licensed in Idaho wish to



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provide abortions outside of Idaho but fear that doing so could result in the revocation of their

Idaho licenses despite the fact that abortion is lawful in those other states. Other Planned

Parenthood providers who are licensed in Idaho and another state may choose to give up their

Idaho licenses altogether to avoid the Attorney General’s threats to their licenses.




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